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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           WESTERN DIVISION

THOMAS ABBOTT, et al.                                                        PLAINTIFFS

v.                          CASE NO. 4:12CV00726 BSM

FIRST STUDENT, INC.                                                         DEFENDANT


ALONZO BENNETT, et al.                                                       PLAINTIFFS

v.                          CASE NO. 4:12CV00798 BSM

FIRST STUDENT, INC.                                                         DEFENDANT


NATE DOUGLAS et al.                                                          PLANITIFFS

v.                          CASE NO. 4:09CV00652 BSM

FIRST STUDENT, INC.                                                         DEFENDANT

                                  FINAL JUDGMENT

      Pursuant to the December 5, 2014, order granting plaintiffs’ motion for attorneys’ fees

and costs [Abbott Doc. No. 142, Bennett Doc. No. 144, Douglas Doc. No. 286] IT IS

HEREBY ORDERED:

      1. That First Student is ordered to pay plaintiffs’ attorneys’ fees in the amount of

$1,512,771.90 and costs in the amount of $389,453.88.

      2. Judgment is accordingly entered in favor of plaintiffs and against defendant First

Student.

      DATED this 15th day of December 2014.
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                                   ________________________________
                                   UNITED STATES DISTRICT JUDGE




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